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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF ILLINOIS
                              EAST ST. LOUIS DIVISION

CATHERINE ALEXANDER,                   )
                                       )
            Plaintiff,                 )
                                       )
     -vs-                              )
                                       )
TAKE-TWO INTERACTIVE SOFTWARE, INC., )
2K GAMES, INC.; 2K SPORTS, INC.; WORLD )                  Case No. 3:18-cv-966-SMY
WRESTLING ENTERTAINMENT, INC.;         )
VISUAL CONCEPTS ENTERTAINMENT;         )
YUKE’S CO., LTD.; AND YUKE’S LA INC.,  )
                                       )
                                       )
            Defendants.                )

     DEFENDANTS’ SECOND AMENDED RULE 26(a)(3) PRETRIAL DISCLOSURES

        Take-Two Interactive Software, Inc., 2K Games, Inc., 2K Sports, Inc., Visual Concepts

Entertainment, and World Wrestling Entertainment, Inc. (collectively, “Defendants”), by

counsel, and in accordance with Federal Rule of Civil Procedure 26(a)(3) submit the following

for their Second Amended Pretrial Disclosures:

I.      LIVE TESTIFYING WITNESSES

        Federal Rule of Civil Procedure 26(a)(3)(A)(i) calls for “the name, and if not previously

provided, address and telephone number of each witness—separately identifying those the party

expects to present and those it may call if the need arises.”

        Defendants expect to call the following witnesses:

 Name                              Address                         Telephone
 Ian Bogost                        Washington University           (314) 935-4056
                                   CB 1174
                                   One Brookings Dr.
                                   St. Louis, MO 63130
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 Name                             Address                         Telephone
 Nina Grace Jablonski             Department of Anthropology      (814) 865-2509
                                  The Pennsylvania State
                                  University
                                  409 Carpenter Building
                                  University Park, PA 16802

 E. Deborah Jay                   2000 Broadway St., Suite 143    (415) 533-0020
                                  Redwood City, CA 94063

 Edward Kiang                     c/o Curtis Krasik               (412) 355-8608
                                  K&L Gates LLP
                                  210 Sixth Avenue
                                  Pittsburgh, PA 15222

 James E. Malackowski             c/o Ocean Tomo                  (312) 327-4400
                                  200 West Madison St.
                                  37th Floor
                                  Chicago, IL 60606

 Randy Orton                      c/o Curtis Krasik               (412) 355-8608
                                  K&L Gates LLP
                                  210 Sixth Avenue
                                  Pittsburgh, PA 15222

 Alfredo Brody                    c/o Dale Cendali                (212) 446-4800
                                  Kirkland & Ellis LLP
                                  601 Lexington Avenue
                                  New York, NY 11106


        Defendants may call the following witnesses if the need arises:

 Name                             Address                         Telephone

 Catherine Alexander              c/o Plaintiff Counsel

 Christopher Snyder               c/o Dale Cendali                (212) 446-4800
                                  Kirkland & Ellis LLP
                                  601 Lexington Avenue
                                  New York, NY 11106

 Mark Little                      c/o Dale Cendali                (212) 446-4800
                                  Kirkland & Ellis LLP
                                  601 Lexington Avenue
                                  New York, NY 11106


                                                2
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       Defendants may seek the Court’s permission to present the testimony of any of the

foregoing witnesses who suffer from elevated health risks via live videoconference.

II.    TESTIMONY THROUGH DEPOSITION DESIGNATION

       Federal Rule of Civil Procedure 26(a)(3)(A)(ii) calls for “the designation of those

witnesses whose testimony the party expects to present by deposition and, if not taken

stenographically, a transcript of the pertinent parts of the deposition.”

       Defendants expect to offer or may offer, if the need arises, the deposition testimony

identified in Exhibit A. Defendants also reserve the right to designate any deposition testimony

based upon any deposition designations offered by Plaintiff. Pursuant to the Court’s January 25,

2022, Case Management Order (Dkt. No. 258), Defendants will work with Plaintiff to jointly

submit deposition designations and objections to the Court via email by September 7, 2022.

III.   EXHIBITS

       Federal Rule of Civil Procedure 26(a)(3)(A)(iii) calls for “an identification of each

document or other exhibit, including summaries of other evidence—separately identifying those

items the party expects to offer and those it may offer if the need arises.”

       Defendants expect to offer or may offer, if the need arises, the documents and other

exhibits identified in the exhibit list attached hereto as Exhibit B.

       Defendants reserve the right to use discovery answers, pleadings, any other documents

exchanged in discovery, and any and all exhibits designated by Plaintiff if the need arises.

Defendants reserve the right to use any materials brought to Court by any witness.

       Defendants further reserve the right to utilize demonstrative exhibits, including without

limitation illustrations, summaries, charts, models, computer animations, PowerPoint

presentations, videos, and enlargements of portions of exhibits.




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       Defendants preserve all objections to any and all exhibits identified and/or offered by

Plaintiff. They are unaware at this time of any additional exhibits that they may offer if the need

arises, but reserve the right to present rebuttal or impeachment evidence as necessary.




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 Dated: August 26, 2022            Respectfully submitted,

                                   /s/ Dale M. Cendali
                                   Dale M. Cendali (admitted pro hac vice)
                                   Joshua L. Simmons (admitted pro hac vice)
                                   Christopher T. Ilardi (admitted pro hac vice)
                                   Miranda D. Means (admitted pro hac vice)
                                   Kirkland & Ellis LLP
                                   601 Lexington Avenue
                                   New York, New York 10022
                                   Telephone: (212) 446-4800
                                   dale.cendali@kirkland.com
                                   joshua.simmons@kirkland.com
                                   christopher.ilardi@kirkland.com
                                   miranda.means@kirkland.com

                                   Michael J. Nester (#02037211)
                                   Donovan Rose Nester P.C.
                                   15 North 1st Street, Suite A
                                   Belleville, Illinois 62220
                                   Telephone: (618) 212-6500
                                   mnester@drnpc.com

                                   Attorneys for Defendants 2K Games, Inc., 2K
                                   Sports, Inc., Take-Two Interactive Software,
                                   Inc., and Visual Concepts Entertainment


                                   /s/ Jerry McDevitt (with consent)
                                   Jerry McDevitt (admitted pro hac vice)
                                   Curtis Krasik (admitted pro hac vice)
                                   K&L Gates LLP
                                   210 Sixth Avenue
                                   Pittsburgh, Pennsylvania 15222
                                   Telephone: (412) 355-8608
                                   jerry.mcdevitt@klgates.com
                                   curtis.krasik@klgates.com

                                   Michael J. Nester (#02037211)
                                   Donovan Rose Nester P.C.
                                   15 North 1st Street, Suite A
                                   Belleville, Illinois 62220
                                   Telephone: (618) 212-6500
                                   mnester@drnpc.com

                                   Attorneys for World Wrestling Entertainment,
                                   Inc.




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             EXHIBIT A – DEFENDANTS’ DEPOSITION DESIGNATIONS

                          Catherine Alexander – January 15, 2019

12:11 - 12:13            65:23 - 65:23             105:4 - 105:6             149:15 - 150:12
18:3 - 18:13             66:2 - 66:6               105:8 - 105:8             150:19 - 150:24
18:16 - 18:17            66:8 - 66:8               105:18 - 106:2            151:13 - 151:15
18:19 - 21:3             75:19 - 76:4              106:4 - 109:7             151:19 - 151:24
21:4 - 21:6              76:20 - 76:21             109:11 - 109:11           152:23 - 153:5
21:9 - 21:9              76:23 - 76:23             109:14 - 109:18           153:10 - 153:16
21:11 - 21:12            77:2 - 77:5               109:20 - 110:10           154:24 - 155:5
21:15 - 21:15            77:15 - 78:2              110:12 - 110:12           155:10 - 156:3
21:17 - 21:18            78:12 - 78:15             110:14 - 110:19           159:3 - 159:10
21:20 - 21:20            82:12 - 82:21             111:1 - 111:14            159:15 - 159:17
22:13 - 22:17            83:1 - 83:6               112:7 - 112:19            159:19 - 159:19
22:22 - 22:22            83:10 - 83:13             113:2 - 113:6             160:6 - 160:7
22:24 - 23:1             86:22 - 86:24             113:18 - 114:24           160:9 - 160:9
23:5 - 23:5              87:4 - 87:22              116:17 - 116:20           160:11 - 160:13
23:7 - 23:14             87:24 - 88:1              119:4 - 120:1             161:4 - 162:14
23:15 - 23:19            88:3 - 89:7               120:19 - 121:24           166:22 - 167:3
23:22 - 23:22            89:9 - 89:9               124:14 - 124:16           167:15 - 167:15
24:20 - 24:24            89:11 - 89:15             124:22 - 125:10           171:2 - 171:8
25:9 - 26:2 *            89:19 - 89:19             125:17 - 125:18           171:16 - 171:18
26:6 - 26:22 *           89:21 - 90:10             125:20 - 125:20           171:21 - 171:21
36:19 - 36:23            90:13 - 90:13             125:22 - 126:23           171:23 - 172:1
36:24 - 37:9             90:17 - 90:20             126:24 - 127:3            172:3 - 172:3
37:12 - 37:12            90:21 - 90:23             127:6 - 127:15            172:5 - 172:7
37:14 - 37:16            90:24 - 91:4              128:7 - 129:8             172:9 - 172:16
37:17 - 37:24            91:5 - 91:11              129:10 - 129:11           172:18 - 172:18
38:2 - 38:3              91:13 - 91:13             129:17 - 130:13           172:20 - 172:21
40:15 - 40:20            93:10 - 93:13             131:17 - 131:23           172:23 - 173:7
40:21 - 40:24            93:22 - 94:13             132:9 - 132:13            173:11 - 173:17
42:2 - 43:5              94:16 - 94:16             132:20 - 133:11           173:19 - 173:20
43:6 - 43:19             94:22 - 95:19             136:16 - 136:20           176:24 - 177:5
51:14 - 51:20            96:20 - 97:3              137:13 - 138:17           177:19 - 177:20
51:21 - 51:21            97:7 - 97:7               139:13 - 139:22           177:23 - 178:5
51:23 - 51:23            97:9 - 97:21              140:2 - 140:13            179:2 - 179:11
52:3 - 52:17             97:23 - 98:1              140:24 - 141:4            180:22 - 180:24
56:13 - 57:8             98:7 - 99:1               141:12 - 142:24           181:6 - 181:9
61:18 - 64:2             99:5 - 99:15              144:12 - 144:14           182:24 - 183:4
64:4 - 64:22             99:19 - 100:23            144:16 - 144:16           183:13 - 183:15
64:24 - 64:24            103:16 - 103:24           148:1 - 148:5             183:18 - 183:19
65:2 - 65:8              104:14 - 104:17           148:18 - 148:21           183:21 - 184:4
65:12 - 65:12            104:19 - 104:24           149:2 - 149:11            184:6 - 184:9
65:14 - 65:21            105:2 - 105:2             149:13 - 149:13           184:11 - 184:16

* These designations are conditional and Defendants will withdraw them in the event that
Defendants’ motion in limine to exclude Ms. Alexander’s out of court statements to an
unidentified WWE employee is granted.
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186:3 - 187:4        197:6 - 197:24       199:14 - 199:15    199:21 - 201:6
188:7 - 188:21       198:3 - 199:3        199:17 - 199:18    201:8 - 201:8




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                         EXHIBIT B – LIST OF DEFENDANTS’ EXHIBITS

    Defendants’
                                                           Description
    Exhibit No.
                    Physical Exhibit: WWE 2K16 for XBox One (Defendants’ Summary Judgment
         1
                    Ex. 16)1
                    Physical Exhibit: WWE 2K17 for XBox One (Defendants’ Summary Judgment
         2
                    Ex. 17)
                    Physical Exhibit: WWE 2K18 for XBox One (Defendants’ Summary Judgment
         3
                    Ex. 18)
                    Webpage for WWE 2K16, Standard Edition, available at https://2k.com/en-
         4
                    US/game/wwe-2k16-standard-edition/
         5          WWE 2K16 Gameplay Image of Randy Orton (Bogost Rpt. at 28)
                    Video Recording of WWE 2K16 (Defendants’ Summary Judgment Ex. 1,
         6
                    Appendix A)
         7          WWE 2K16 Gameplay - Roman Reigns vs. Randy Orton
         8          WWE 2K16 Gameplay - John Cena vs. Randy Orton
         9          WWE 2K16 Gameplay - Royal Rumble
         10         WWE 2K16 Gameplay - Randy Orton vs. John Cena
         11         WWE 2K16 Gameplay - Seth Rollins vs. Stone Cold Steve Austin

                    Webpage for WWE 2K 17, Standard Edition, WWE 2K 17, available at
         12
                    https://2k.com/en-US/game/wwe-2k17-standard-edition/

                    Video Recording of WWE 2K17 (Defendants’ Summary Judgment Ex. 1,
         13
                    Appendix B)
         14         WWE 2K17 Gameplay - Randy Orton vs. Bubba Ray Dudley
         15         WWE 2K17 Gameplay - Randy Orton vs. Kane
         16         WWE 2K17 Gameplay - Royal Rumble
         17         WWE 2K17 Gameplay - Randy Orton vs. John Cena
         18         WWE 2K17 Gameplay - Roman Reigns vs. Brock Lesnar
                    Webpage for WWE 2K 18, Standard Edition, WWE 2K 18, available at
         19
                    https://2k.com/en-US/game/wwe-2k18-standard-edition/



1
      Defendants intend to bring to Court an Xbox and/or other video game consoles on which the physical video game
      exhibits may be played by the parties, the Court, or the jury.
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                  EXHIBIT B – LIST OF DEFENDANTS’ EXHIBITS


 Defendants’
                                                Description
 Exhibit No.
     20        WWE 2K18 Load Screen Image (Bogost Rpt. at 20)
     21        WWE 2K18 Menu Options Image (Bogost Rpt. at 20)
     22        WWE 2K18 Play / One-on-One Options Image (Bogost Rpt. at 20)
     23        WWE 2K18 Store / Purchasables Options Image (Bogost Rpt. at 20)
     24        WWE 2K18 Gameplay Image of Randy Orton (Bogost Rpt. at 29)
               Video Recording of WWE 2K18 (Defendants’ Summary Judgment Ex. 1,
     25
               Appendix C)
     26        WWE 2K18 Gameplay - Randy Orton vs. Dean Ambrose
     27        WWE 2K18 Gameplay - Roman Reigns vs. Randy Orton
     28        WWE 2K18 Gameplay - Royal Rumble
     29        WWE 2K18 Gameplay - Randy Orton vs. Seth Rollins
     30        WWE 2K18 Gameplay - Brock Lesnar vs. Neville
               Webpage titled “WWE’s history of video games” from WWE.com, available at
     31
               https://www.wwe.com/article/wwe-video-games-history
     32        Photo of Randy Orton, Bates stamped TAKE-TWO_0000913 (Confidential)

     33        Photo of Randy Orton, Bates stamped TAKE-TWO_0000914 (Confidential)

     34        Photo of Randy Orton, Bates stamped TAKE-TWO_0000918 (Confidential)
     35        Photo of Randy Orton, Bates stamped TAKE-TWO_0000909 (Confidential)
     36        Photo of Randy Orton, Bates stamped TAKE-TWO_0000910 (Confidential)
     37        Photo of Randy Orton, Bates stamped TAKE-TWO_0000911 (Confidential)
     38        Photo of Randy Orton, Bates stamped TAKE-TWO_0000912 (Confidential)
     39        Photo of Randy Orton, Bates stamped TAKE-TWO_0000915 (Confidential)
     40        Photo of Randy Orton, Bates stamped TAKE-TWO_0000916 (Confidential)
     41        Photo of Randy Orton, Bates stamped TAKE-TWO_0000917 (Confidential)
     42        Photo of Randy Orton, Bates stamped TAKE-TWO_0000919 (Confidential)
     43        Photo of Randy Orton, Bates stamped TAKE-TWO_0000920 (Confidential)
     44        Photo of Randy Orton, Bates stamped TAKE-TWO_0000921 (Confidential)
     45        Photo of Randy Orton, Bates stamped TAKE-TWO_0000922 (Confidential)
     46        Photo of Randy Orton, Bates stamped TAKE-TWO_0000923 (Confidential)



                                            2
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                   EXHIBIT B – LIST OF DEFENDANTS’ EXHIBITS


  Defendants’
                                                 Description
  Exhibit No.
      47        Photo of Randy Orton, Bates stamped TAKE-TWO_0000924 (Confidential)
      48        Photo of Randy Orton, Bates stamped TAKE-TWO_0000925 (Confidential)
      49        Photo of Randy Orton, Bates stamped TAKE-TWO_0000926 (Confidential)
      50        Photo of Randy Orton, Bates stamped TAKE-TWO_0000927 (Confidential)
      51        Photo of Randy Orton, Bates stamped TAKE-TWO_0000928 (Confidential)
      52        Photo of Randy Orton, Bates stamped TAKE-TWO_0000929 (Confidential)
      53        Drawing of Tribal Tattoo, Bates stamped ALEXANDER000040
      54        Photo of Back Tattoo with Drawing, Bates stamped ALEXANDER000038
      55        Photo of Back Tattoo with Drawing (Alexander Dep. Ex. 6)
      56        Photo of Arm Tattoo, Bates stamped ALEXANDER000044
      57        Photo of Randy Orton, front view, Bates stamped ALEXANDER000043
      58        Photo of Arm Tattoo, Bates stamped ALEXANDER000048
      59        Photo of Randy Orton, side view, Bates stamped ALEXANDER000045
                Skin and Tattoo Image for Character, Bates stamped TAKE-TWO_0000798
      60
                (Confidential)
                Skin and Tattoo Image for Character, Bates stamped TAKE-TWO_0000799
      61
                (Confidential)
                Skin and Tattoo Image for Character, Bates stamped TAKE-TWO_0000800
      62
                (Confidential)
                Skin and Tattoo Image for Character, Bates stamped TAKE-TWO_0000801
      63
                (Confidential)
                Skin and Tattoo Image for Character, Bates stamped TAKE-TWO_0000802
      64
                (Confidential)
                Skin and Tattoo Image for Character, Bates stamped TAKE-TWO_0000803
      65
                (Confidential)
                Skin and Tattoo Image for Character, Bates stamped TAKE-TWO_0000804
      66
                (Confidential)
                Skin and Tattoo Image for Character, Bates stamped TAKE-TWO_0000805
      67
                (Confidential)
                Skin and Tattoo Image for Character, Bates stamped TAKE-TWO_0000806
      68
                (Confidential)



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                   EXHIBIT B – LIST OF DEFENDANTS’ EXHIBITS


  Defendants’
                                                 Description
  Exhibit No.
                Skin and Tattoo Image for Character, Bates stamped TAKE-TWO_0000807
      69
                (Confidential)
                Skin and Tattoo Image for Character, Bates stamped TAKE-TWO_0000808
      70
                (Confidential)
                Skin and Tattoo Image for Character, Bates stamped TAKE-TWO_0000809
      71
                (Confidential)
                Skin and Tattoo Image for Character, Bates stamped TAKE-TWO_0000810
      72
                (Confidential)
                Skin and Tattoo Image for Character, Bates stamped TAKE-TWO_0000811
      73
                (Confidential)
                Skin and Tattoo Image for Character, Bates stamped TAKE-TWO_0000812
      74
                (Confidential)
                Skin and Tattoo Image for Character, Bates stamped TAKE-TWO_0000813
      75
                (Confidential)
                Skin and Tattoo Image for Character, Bates stamped TAKE-TWO_0000814
      76
                (Confidential)
                Skin and Tattoo Image for Character, Bates stamped TAKE-TWO_0000815
      77
                (Confidential)
                Skin and Tattoo Image for Character, Bates stamped TAKE-TWO_0000816
      78
                (Confidential)
                Skin and Tattoo Image for Character, Bates stamped TAKE-TWO_0000817
      79
                (Confidential)
                Skin and Tattoo Image for Character, Bates stamped TAKE-TWO_0000818
      80
                (Confidential)
                Skin and Tattoo Image for Character, Bates stamped TAKE-TWO_0000819
      81
                (Confidential)
                Skin and Tattoo Image for Character, Bates stamped TAKE-TWO_0000820
      82
                (Confidential)
                Skin and Tattoo Image for Character, Bates stamped TAKE-TWO_0000821
      83
                (Confidential)
                Skin and Tattoo Image for Character, Bates stamped TAKE-TWO_0000822
      84
                (Confidential)
                September 1, 2009 Booking Contract between World Wrestling Entertainment,
      85        Inc. and Randal Orton, Bates stamped WWE_Alexander0000001–
                WWE_Alexander0000026 (Confidential)



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                    EXHIBIT B – LIST OF DEFENDANTS’ EXHIBITS


  Defendants’
                                                   Description
  Exhibit No.
                February 11, 2013 Agreement between World Wrestling Entertainment, Inc.
      86        and Take-Two Interactive Software, Inc., Bates stamped TAKE-
                TWO_0000498–TAKE-TWO_0000542 (Confidential)
                Redacted February 11, 2013 Agreement between World Wrestling
      87
                Entertainment, Inc. and Take-Two Interactive Software, Inc.
                January 6, 2016 Amendment One to Agreement between World Wrestling
      88        Entertainment, Inc. and Take-Two Interactive Software, Inc., Bates stamped
                TAKE-TWO_0000543–TAKE-TWO_0000559 (Confidential)
                Redacted January 6, 2016 Amendment One to Agreement between World
      89
                Wrestling Entertainment, Inc. and Take-Two Interactive Software, Inc.
                February 12, 2013 Master Developer Agreement between Yuke’s Co. Ltd. and
      90        2K Sports, Inc., Bates stamped TAKE-TWO_0000560-TAKE–TWO_0000609
                (Confidential)
                Chart of WWE 2K Franchise sales since Apr 2015, Bates stamped TAKE-
      91
                TWO_0001332 (Highly Confidential)
                Chart of WWE 2K Franchise sales since Apr 2015, Bates stamped TAKE-
      92
                TWO_0000983 (Highly Confidential)
                Schedules of WWE 2K Sales and Profits (Malackowski Rpt. App. C) (Highly
      93
                Confidential)
                November 5, 2018 Plaintiff Catherine Alexander’s Objections and Responses
                to Defendants Take-Two Interactive Software, Inc., 2K Games, Inc., 2K Sports,
      94
                Inc., and Visual Concepts Entertainment’s First Set of Requests for Admissions
                to Plaintiff Catherine Alexander, Dkt. No. 95
                October 15, 2018 Plaintiff’s Objections and Responses to Defendants Take-
                Two Interactive Software, Inc., 2K Games, Inc., 2K Sports, Inc., and Visual
      95
                Concepts Entertainment’s First Set of Interrogatories to Plaintiff Catherine
                Alexander
                January 7, 2019 Plaintiff Catherine Alexander’s Objections and Responses to
                Defendants Take-Two Interactive Software, Inc., 2K Games, Inc., 2K Sports,
      96
                Inc., and Visual Concepts Entertainment’s Second Set of Requests for
                Admission to Plaintiff Catherine Alexander, Dkt. No. 108
                November 19, 2018 Letter from Anthony Simon regarding Plaintiff’s
                Objections and Responses to Defendants’ First Set of Interrogatories and
      97
                Plaintiff’s Objections and Responses to Defendants’ First Set of Requests for
                Production




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                    EXHIBIT B – LIST OF DEFENDANTS’ EXHIBITS


  Defendants’
                                                   Description
  Exhibit No.
                January 10, 2019 Plaintiff’s Objections and Supplemental Responses to
                Defendants Take-Two Interactive Software, Inc., 2K Games, Inc., 2K Sports,
      98
                Inc., and Visual Concepts Entertainment’s First Set of Interrogatories to
                Plaintiff Catherine Alexander
                January 7, 2019 Plaintiff Catherine Alexander’s Objections and Responses to
                Defendants Take-Two Interactive Software, Inc., 2K Games, Inc., 2K Sports,
      99
                Inc., and Visual Concepts Entertainment’s Second Set of Interrogatories to
                Plaintiff Catherine Alexander
                October 15, 2018 Plaintiff’s Objections and Responses to Defendants Take-
                Two Interactive Software, Inc., 2K Games, Inc., 2K Sports, Inc., and Visual
     100
                Concepts Entertainment’s First Set of Requests for Production to Plaintiff
                Catherine Alexander
                January 10, 2019 Plaintiff’s Objections and Supplemental Responses to
                Defendants Take-Two Interactive Software, Inc., 2K Games, Inc., 2K Sports,
     101
                Inc., and Visual Concepts Entertainment’s First Set of Requests for Production
                to Plaintiff Catherine Alexander
                February 25, 2019 Letter United States Copyright Office to The Simon Law
     102        Firm re Bible Verse Design, Bates stamped ALEXANDER000067-
                ALEXANDER000069
     103        State of Missouri Patron Consent Form (Alexander Dep. Ex. 2)
                November 4, 2019 Declaration of Randy Orton (Defendants’ Summary
     104
                Judgment Ex. 2)
                November 27, 2018 Declaration of Gary Glatstein, Bates stamped TAKE-
     105
                TWO_0001327-TAKE-TWO_0001331
                February 23, 2018 Declaration of Thomas Ray Cornett in Solid Oak Sketches,
     106
                LLC v. 2K Games, Inc. et al., 15-cv-724 (SDNY) (Jablonski Rpt. Ex. 3)
                March 13, 2018 Declaration of Deshawn Morris a/k/a Shawn Rome in Solid
     107        Oak Sketches, LLC v. 2K Games, Inc. et al., 15-cv-724 (SDNY) (Jablonski Rpt.
                Ex. 4)
                February 7, 2018 Declaration of Justin Wright in Solid Oak Sketches, LLC v.
     108
                2K Games, Inc. et al., 15-cv-724 (SDNY) (Jablonski Rpt. Ex. 5)
     109                                       WITHDRAWN

     110                                       WITHDRAWN

     111                                       WITHDRAWN




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                    EXHIBIT B – LIST OF DEFENDANTS’ EXHIBITS


  Defendants’
                                                    Description
  Exhibit No.
     112                                        WITHDRAWN

     113                                        WITHDRAWN

     114                                        WITHDRAWN

     115                                        WITHDRAWN

     116                                        WITHDRAWN

     117                                        WITHDRAWN
                Webpage titled “31 World’s Best Matching Tattoos for Couples” from
     118
                BestPickr, available at http://bestpickr.com/matching-couples-tattoos
                August 16, 2013 Article titled “From counter-culture to mainstream: Why the
                red-hot tattoo boom is bound to end” from National Post, available at
     119
                https://nationalpost.com/news/canada/why-this-red-hot-tattoo-boom-is-bound-
                to-end-with-regret-again
                September 25, 2013 Article titled “Justin Bieber’s Bible Psalm Tattoo on the
     120        Back of His Shoulder” from PopStarTats, available at
                www.popstartats.com/justin-bieber-tattoos/shoulder-bible-psalm/
                July 17, 2009 Article titled “Oetzi iceman’s tattoos came from fireplace” from
                DiscoveryNews, available at
     121
                http://www.nbcnews.com/id/31965532/ns/technology_and_science-
                science/t/oetzi-icemans-tattoos-came-fireplace/
                January 28, 2015 Article titled “Peak of Ink” from Inlander, available at
     122
                https://www.inlander.com/spokane/peak-of-ink/Content?oid=2405964
                February 3, 2014 Article titled “People always say the same thing about
     123        tattoos” from BBC News, available at https://www.bbc.com/news/magazine-
                25330947
                August 26, 2014 Article titled “Siberian Mummy Burial Row” from
                International Business Times, available at https://www.ibtimes.co.uk/siberian-
     124
                mummy-burial-row-villagers-want-princess-ukok-reburied-stop-natural-
                disasters-1462705
                September 30, 2013 Article titled “The rise of the text tattoo” from BBC News,
     125
                available at https://www.bbc.com/news/magazine-24306141
                Webpage titled “Top 43 Bible Verse Tattoo Ideas” from Next Luxury, available
     126
                at https://nextluxury.com/mens-style-and-fashion/bible-verse-tattoos-for-men/




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                    EXHIBIT B – LIST OF DEFENDANTS’ EXHIBITS


  Defendants’
                                                   Description
  Exhibit No.
                Webpage titled “Top 55 Best Rose Tattoos for Men” from Improb.com,
     127
                available at https://improb.com/best-rose-tattoos-for-men/
                December 10, 2012 Blog post titled “Tattooing in Ancient Egypt Part 2: The
     128        Mummy of Amunet”, available at https://blogs.ucl.ac.uk/researchers-in-
                museums/tag/dr-daniel-fouquet/
                Tweet from Louvre Museum, available at
     129
                https://twitter.com/MuseeLouvre/status/1245374207552258049/photo/1
                Louvre Webpage for “Figurine of a naked woman”, available at
     130
                https://www.louvre.fr/en/oeuvre-notices/figurine-naked-woman
                June 26, 2014 British Museum Article titled “Tattoos in ancient Egypt and
     131        Sudan”, available at https://blog.britishmuseum.org/tattoos-in-ancient-egypt-
                and-sudan/
                Archaeology.org Webpage titled “Faience Figuring and Bowl”, available at
     132        https://www.archaeology.org/issues/107-features/tattoos/1352-faince-egypt-
                amunet-hathor-bes
                Webpage displaying image titled “Vyvyn Lazonga’s Hands” (2014) available
     133        at https://www.sdbarber.com/tattooed-portraits-2013-
                2014/ppicfvrd2pf8hm20tfyv2v1k3i246s
                Webpage displaying image titled “Tattooed Self Portrait 4” (2008), available at
     134        https://www.sdbarber.com/tattooed-portraits-
                2008/2aaum9x6ons0wqguxlh2gvh74eyxp0
                Webpage displaying image titled “Portrait of the Artist, Luke Stewart, Head
     135        Study” (2009), available at https://www.sdbarber.com/tattooed-portraits-
                2009/e04fzyir2eusmwvoqbnyb96awh4u6q
     136        Page titled “Randy Orton” on Smackdown Hotel (Bogost Rpt. Ex. 4)
                January 16, 2017 Article titled “PC Monitor Display Sizes Continues to Grow”
     137
                from TechTalk (Bogost Rpt. Ex. 5)
                September 8, 2015 Article titled “TV Screens Are Getting Bigger and Bigger”
     138
                from Statista (Bogost Rpt. Ex. 6)
                January 16, 2018 Article titled “WWE 2K18 roster: Meet the Superstars joining
     139
                the list of playable characters” from WWE (Bogost Rpt. Ex. 7)
                Article titled “WWE 2K18 New Moves Pack is Out Today” from WWE
     140
                (Bogost Rpt. Ex. 8)
                October 21, 2017 Wiki Entry titled “Game Modes” from IGN WWE 2K18 Wiki
     141
                Guide (Bogost Rpt. Ex. 9)




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                   EXHIBIT B – LIST OF DEFENDANTS’ EXHIBITS


  Defendants’
                                                 Description
  Exhibit No.
                October 18, 2017 Article titled “WWE 2K18: Review of MyCareer and Road to
     142
                Glory Modes” from the Bleacher Report (Bogost Rpt. Ex. 10)
                Post on WWEGames Subreddit titled “Skip show intros on WWE2K18
     143
                MyCareer” (Bogost Rpt. Ex. 13)
                Post on WWE 2K17 Steam Community Board titled “Skipping intros?” (Bogost
     144
                Rpt. Ex. 14)
                Nick Montfort, et al., “10 PRINT CHR$(205.5+RND(1)); : GOTO 10”,
     145
                available at https://10print.org/10_PRINT_121114.pdf
     146        Photo of WWE 2K Gameplay (Bogost Rpt. at 18)
     147        Photo of WWE 2K Gameplay (Bogost Rpt. at 19)
     148        Photo of WWE 2K Gameplay (Bogost Rpt. at 19)
     149        Photo of WWE 2K Gameplay (Bogost Rpt. at 19)
     150        Photo of WWE 2K Gameplay (Bogost Rpt. at 19)
     151        Photo of WWE 2K Gameplay (Bogost Rpt. at 29)
     152        Photo of WWE 2K Gameplay (Bogost Rpt. at 29)
     153        Photo of WWE 2K Gameplay (Bogost Rpt. at 30)
     154        Questionnaire (Sample Web Screenshots) (Jay Report App. D)
     155        Background Information on the YouGov Online Panel (Jay Report App. F)
                Background Information on the Research Now/SSI Online Panel (Jay Report
     156
                App. G)
                Main Reasons and Other Reasons Survey Respondents Gave for Buying a
     157
                WWE 2K Video Game (Jay Report App. H)
                Which Wrestlers’ Depiction Was a Reason for Buying a WWE 2K Video Game
     158        and What Features of Aspects of Their Appearance Were Important to Depict
                (Jay Report App. I)
     159                                     WITHDRAWN
     160                                     WITHDRAWN
                Image of merchandise titled “WWE Wrestling Judgment Day 2008 T Shirt
                Triple H Shawn Michaels Undertaker XL,” available at
     161        https://www.ebay.com/itm/WWE-Wrestling-Judgment-Day-2008-T-Shirt-
                Triple-H-Shawn-Michaels-Undertaker-
                XL/303408065564?hash=item46a487ac1c:g:ZA4AAOSwHv1d-rOO




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                   EXHIBIT B – LIST OF DEFENDANTS’ EXHIBITS


  Defendants’
                                                  Description
  Exhibit No.
                Image of merchandise titled “WWE Wrestling Royal Rumble 2008 PPV T-
                Shirt 3XL Black Randy Orton Rey Mysterio,” available at
     162        https://www.ebay.com/itm/WWE-Wrestling-Royal-Rumble-2008-PPV-T-
                Shirt-3XL-Black-Randy-Orton-Rey-
                Mysterio/283836587129?hash=item4215fa9c79:g:pdcAAOSwJrBehl-D
                Webpage for April 2008 WWE Magazine via Prowrestling Fandom Wiki,
     163        available at https://prowrestling.fandom.com/wiki/WWE_Magazine_-
                _April_2008
                Image of merchandise titled “WWE Bragging Rights 2009 PPV Promo Poster,
                Undertaker, CM Punk, Excellent Cond,” available at
     164        https://www.ebay.com/itm/WWE-Bragging-Rights-2009-PPV-Promo-Poster-
                Undertaker-CM-Punk-Excellent-
                Cond/173570690472?hash=item28699e8da8:g:3~YAAOSwnVRbtbUc
                Image of merchandise titled “RANDY ORTON Med THE LEGEND Killer
                2002 WWE Wwf WRESTLING Tee Shirt New Deadstock,” available at
     165        https://www.ebay.com/itm/RANDY-ORTON-Med-THE-LEGEND-Killer-
                2002-WWE-Wwf-WRESTLING-Tee-Shirt-New-
                Deadstock/353067731803?hash=item52347a0b5b:g:eaEAAOSw9~xerxug
                Image of merchandise titled “2004 WWF UNFORGIVEN Promo T-SHIRT
                Triple H VS Randy Orton WWE Rare VTG RAW L,” available at
     166        https://www.ebay.com/itm/2004-WWF-UNFORGIVEN-Promo-T-SHIRT-
                Triple-H-VS-Randy-Orton-WWE-Rare-VTG-RAW-
                L/263906290659?hash=item3d720a6be3:g:arcAAOSwKWxbh0Hd
                Image of merchandise titled “WWE Wrestling Armageddon 2007 PPV T-Shirt
                3XL Black Randy Orton Undertaker Edge,” available at
     167        https://www.ebay.com/itm/WWE-Wrestling-Armageddon-2007-PPV-T-Shirt-
                3XL-Black-Randy-Orton-Undertaker-
                Edge/283836586487?hash=item4215fa99f7:g:OucAAOSw0NZehl45
                Image of merchandise titled “2007 Royal Rumble Official Poster Rare!! 27x39
                Blast Area PPV Poster WWF WWE,” available at
     168        https://www.ebay.com/itm/2007-Royal-Rumble-Official-Poster-Rare-27x39-
                Blast-Area-PPV-Poster-WWF-
                WWE/133371986052?hash=item1f0d970084:g:xEgAAOSw1mdefCaZ
                Image of merchandise titled “WWE RANDY ORTON NO MERCY
                CARDBOARD POSTER (NEW),” available at
     169        https://www.ebay.com/itm/WWE-RANDY-ORTON-NO-MERCY-
                CARDBOARD-POSTER-
                NEW/154051309241?hash=item23de2c6eb9:g:pNoAAOSwlGZfPGCU
     170        Demonstratives for Use with Ian Bogost, Ph.D.



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                    EXHIBIT B – LIST OF DEFENDANTS’ EXHIBITS


  Defendants’
                                                  Description
  Exhibit No.
     171        Demonstratives for Use with Nina Jablonski, Ph.D.
     172        Demonstratives for Use with E. Deborah Jay, Ph.D.
     173        Demonstratives for Use with Edward Kiang
     174        Demonstratives for Use with Mark Little
     175        Demonstratives for Use with James Malackowski
     176        Demonstratives for Use with Randy Orton
     177        Demonstratives for Use with Chris Snyder
     178        February 17, 2018 Instagram post from schrockbrian (Alexander Dep. Ex. 1)
     179        Photo of Arm Tattoo with Drawing, produced as ALEXANDER000042
                (Alexander Dep. Ex. 9)
     180        Postal Confirmations for Library of Congress Submissions, produced as
                ALEXANDER000029–ALEXANDER000034 (Alexander Dep. Ex. 19)
     181        December 12, 2018 Email U.S. Copyright Office to The Simon Law Firm re
                Copyright Status Request, produced as ALEXANDER000056–
                ALEXANDER000058 (Alexander Dep. Ex. 20)
     182        Spreadsheet titled “WWE 2K Franchise sales since Apr’2015”, produced as
                TAKE‐TWO_0000982 (Highly Confidential)
     183        Spreadsheet titled “WWE 2K Franchise sales since Apr’2015”, produced as
                TAKE‐TWO_0001447 (Highly Confidential)
     184        December 28, 2007, Game Log Post by Jose Zagal titled “Half-Life 2: Episode
                1 (PC)” (Zagal Dep. Ex. 1)
     185        November 3, 2008, Destructoid article by Nick Chester titled “WWE’s Randy
                Orton talks videogames, violence, having his face in a game” (Zagal Dep.
                Ex. 2)
     186        Sportskeeda slide “#6 Randy Orton” from slideshow titled “Top 10 coolest
                WWE Tattoos” (Zagal Dep. Ex. 4)
     187        Jose P. Zagal, Ludoliteracy: Defining, Understanding, and Supporting Games
                Education (ETC Press 2010)
     188        Physical Exhibit: WWE SmackDown!: Shut Your Mouth (PS2, 2002)
     189        Physical Exhibit: WWE SmackDown!: Here Comes The Pain (PS2, 2003)
     190        Physical Exhibit: WWE SmackDown! vs. Raw (PS2, 2004)
     191        Physical Exhibit: WWE SmackDown! vs. Raw 2006 (PS2, 2005)
     192        Physical Exhibit: WWE SmackDown vs. Raw 2007 (PS2, 2006)



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                   EXHIBIT B – LIST OF DEFENDANTS’ EXHIBITS


  Defendants’
                                                  Description
  Exhibit No.
     193        Physical Exhibit: WWE SmackDown vs. Raw 2008 (PS2, 2007)
     194        Physical Exhibit: WWE SmackDown vs. Raw 2009 (PS2, 2008)
     195        Physical Exhibit: WWE SmackDown vs. Raw 2010 (PS2, 2009)
     196        Physical Exhibit: WWE SmackDown vs. Raw 2011 (PS2, 2010)
     197        WWE SmackDown!: Shut Your Mouth (PS2, 2002) Gameplay - Randy Orton
                vs. Kane
     198        WWE SmackDown!: Here Comes The Pain (PS2, 2003) Gameplay - Randy
                Orton vs. Batista
     199        WWE SmackDown! vs. Raw (PS2, 2004) Gameplay - Randy Orton vs. Kane
     200        WWE SmackDown! vs. Raw 2006 (PS2, 2005) Gameplay - Randy Orton vs.
                Triple H
     201        WWE SmackDown vs. Raw 2007 (PS2, 2006) Gameplay - Randy Orton vs.
                Triple H
     202        WWE SmackDown vs. Raw 2008 (PS2, 2007) Gameplay - Randy Orton vs.
                Kane
     203        WWE SmackDown vs. Raw 2009 (PS2, 2008) Gameplay - Randy Orton vs.
                Undertaker
     204        WWE SmackDown vs. Raw 2010 (PS2, 2009) Gameplay - Randy Orton vs.
                Kane
     205        WWE SmackDown vs. Raw 2011 (PS2, 2010) Gameplay - Randy Orton vs.
                John Cena
     206        Poster Advertising Pay-Per-View Event Titled WWE Vengeance
     207        Poster Advertising Pay-Per-View Event Titled SmackDown Presents: No Way
                Out
     208        Poster Advertising Pay-Per-View Event Titled WWE No Mercy
     209        Poster Advertising Pay-Per-View Event Titled WWE Backlash
     210        Poster Advertising Pay-Per-View Event Titled WWE Fatal 4 Way
     211        Poster Advertising Pay-Per-View Event Titled Night of Champions
     212        Poster Advertising Pay-Per-View Event Titled WWE Over the Limit
     213        Poster Advertising Pay-Per-View Event Titled Payback
     214        Poster Advertising Pay-Per-View Event Titled Payback
     215        Poster Advertising Pay-Per-View Event Titled The Greatest Wrestling Match
                Ever: BackLash


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                   EXHIBIT B – LIST OF DEFENDANTS’ EXHIBITS


  Defendants’
                                               Description
  Exhibit No.
     216        Screenshot from WWE SmackDown!: Shut Your Mouth (PS2, 2002)
                Gameplay - Randy Orton vs. Kane
     217        Screenshot from WWE SmackDown!: Shut Your Mouth (PS2, 2002)
                Gameplay - Randy Orton vs. Kane
     218        Screenshot from WWE SmackDown!: Shut Your Mouth (PS2, 2002)
                Gameplay - Randy Orton vs. Kane
     219        Screenshot from WWE SmackDown!: Here Comes The Pain (PS2, 2003)
                Gameplay - Randy Orton vs. Batista
     220        Screenshot from WWE SmackDown!: Here Comes The Pain (PS2, 2003)
                Gameplay - Randy Orton vs. Batista
     221        Screenshot from WWE SmackDown!: Here Comes The Pain (PS2, 2003)
                Gameplay - Randy Orton vs. Batista
     222        Screenshot from WWE SmackDown!: Here Comes The Pain (PS2, 2003)
                Gameplay - Randy Orton vs. Batista
     223        Screenshot from WWE SmackDown! vs. Raw (PS2, 2004) Gameplay - Randy
                Orton vs. Kane
     224        Screenshot from WWE SmackDown! vs. Raw (PS2, 2004) Gameplay - Randy
                Orton vs. Kane
     225        Screenshot from WWE SmackDown! vs. Raw (PS2, 2004) Gameplay - Randy
                Orton vs. Kane
     226        Screenshot from WWE SmackDown! vs. Raw (PS2, 2004) Gameplay - Randy
                Orton vs. Kane
     227        Screenshot from WWE SmackDown! vs. Raw 2006 (PS2, 2005) Gameplay -
                Randy Orton vs. Triple H
     228        Screenshot from WWE SmackDown! vs. Raw 2006 (PS2, 2005) Gameplay -
                Randy Orton vs. Triple H
     229        Screenshot from WWE SmackDown! vs. Raw 2006 (PS2, 2005) Gameplay -
                Randy Orton vs. Triple H
     230        Screenshot from WWE SmackDown! vs. Raw 2006 (PS2, 2005) Gameplay -
                Randy Orton vs. Triple H
     231        Screenshot from WWE SmackDown! vs. Raw 2006 (PS2, 2005) Gameplay -
                Randy Orton vs. Triple H
     232        Screenshot from WWE SmackDown! vs. Raw 2006 (PS2, 2005) Gameplay -
                Randy Orton vs. Triple H




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                   EXHIBIT B – LIST OF DEFENDANTS’ EXHIBITS


  Defendants’
                                               Description
  Exhibit No.
     233        Screenshot from WWE SmackDown! vs. Raw 2006 (PS2, 2005) Gameplay -
                Randy Orton vs. Triple H
     234        Screenshot from WWE SmackDown vs. Raw 2007 (PS2, 2006) Gameplay -
                Randy Orton vs. Triple H
     235        Screenshot from WWE SmackDown vs. Raw 2007 (PS2, 2006) Gameplay -
                Randy Orton vs. Triple H
     236        Screenshot from WWE SmackDown vs. Raw 2007 (PS2, 2006) Gameplay -
                Randy Orton vs. Triple H
     237        Screenshot from WWE SmackDown vs. Raw 2007 (PS2, 2006) Gameplay -
                Randy Orton vs. Triple H
     238        Screenshot from WWE SmackDown vs. Raw 2008 (PS2, 2007) Gameplay -
                Randy Orton vs. Kane
     239        Screenshot from WWE SmackDown vs. Raw 2008 (PS2, 2007) Gameplay -
                Randy Orton vs. Kane
     240        Screenshot from WWE SmackDown vs. Raw 2008 (PS2, 2007) Gameplay -
                Randy Orton vs. Kane
     241        Screenshot from WWE SmackDown vs. Raw 2009 (PS2, 2008) Gameplay -
                Randy Orton vs. Undertaker
     242        Screenshot from WWE SmackDown vs. Raw 2009 (PS2, 2008) Gameplay -
                Randy Orton vs. Undertaker
     243        Screenshot from WWE SmackDown vs. Raw 2009 (PS2, 2008) Gameplay -
                Randy Orton vs. Undertaker
     244        Screenshot from WWE SmackDown vs. Raw 2009 (PS2, 2008) Gameplay -
                Randy Orton vs. Undertaker
     245        Screenshot from WWE SmackDown vs. Raw 2010 (PS2, 2009) Gameplay -
                Randy Orton vs. Kane
     246        Screenshot from WWE SmackDown vs. Raw 2010 (PS2, 2009) Gameplay -
                Randy Orton vs. Kane
     247        Screenshot from WWE SmackDown vs. Raw 2010 (PS2, 2009) Gameplay -
                Randy Orton vs. Kane
     248        Screenshot from WWE SmackDown vs. Raw 2010 (PS2, 2009) Gameplay -
                Randy Orton vs. Kane
     249        Screenshot from WWE SmackDown vs. Raw 2010 (PS2, 2009) Gameplay -
                Randy Orton vs. Kane




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                    EXHIBIT B – LIST OF DEFENDANTS’ EXHIBITS


  Defendants’
                                                    Description
  Exhibit No.
     250        Screenshot from WWE SmackDown vs. Raw 2010 (PS2, 2009) Gameplay -
                Randy Orton vs. Kane
     251        Screenshot from WWE SmackDown vs. Raw 2011 (PS2, 2010) Gameplay -
                Randy Orton vs. John Cena
     252        Screenshot from WWE SmackDown vs. Raw 2011 (PS2, 2010) Gameplay -
                Randy Orton vs. John Cena
     253        Screenshot from WWE SmackDown vs. Raw 2011 (PS2, 2010) Gameplay -
                Randy Orton vs. John Cena
     254        Screenshot from WWE SmackDown vs. Raw 2011 (PS2, 2010) Gameplay -
                Randy Orton vs. John Cena
     255        Photograph of Randy Orton (2002, forearms, front view)

     256        Photograph of Randy Orton (2002, biceps, arms crossed, front view)

     257        Photograph of Randy Orton (2002, biceps, back view)

     258        Photograph of Randy Orton (2002, left bicep, front view)

     259        Photograph of Randy Orton (2003, biceps, shoulders, back view)

     260        Photograph of Randy Orton (2003, right bicep, back and zoomed-in view)

     261        Photograph of Randy Orton (2003, right shoulder, zoomed-in view)

     262        Photograph of Randy Orton (2004, left bicep, left forearm, side view)

     263        Photograph of Randy Orton (2004, left bicep, partial right bicep, back view)

     264        Photograph of Randy Orton (2005, left bicep, side view)

     265        Photograph of Randy Orton (2005, forearms, hands in air, front view)

     266        Photograph of Randy Orton (2005, forearms, hands in air, back view)

     267        Photograph of Randy Orton (2006, right bicep, partial right forearm, partial
                back, side view)

     268        Photograph of Randy Orton (2006, back, biceps, hands in air, back view)

     269        Photograph of Randy Orton (2007, back, partial biceps, back view)

     270        Photograph of Randy Orton (2007, right forearm, Samantha)



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                    EXHIBIT B – LIST OF DEFENDANTS’ EXHIBITS


  Defendants’
                                                   Description
  Exhibit No.
     271        Photograph of Randy Orton (2008, sleeves, front view)

     272        Photograph of Randy Orton (2008, sleeves, arms crossed, front view)

     273        Photograph of Randy Orton (2008, right sleeve, back view)

     274        Photograph of Randy Orton (2008, partial right sleeve, zoomed-in back view)

     275        Photograph of Randy Orton (2008, partial right sleeve, zoomed-in back view)

     276        Photograph of Randy Orton (2008, partial right sleeve, zoomed-in back view)

     277        Photograph of Randy Orton (2008, partial right sleeve, zoomed-in front view)

     278        Photograph of Randy Orton (2008, partial right sleeve, zoomed-in front view)

     279        Photograph of Randy Orton (2008, partial right sleeve, zoomed-in side view)

     280        Photograph of Randy Orton (2008, partial sleeve, Alanna)

     281        Photograph of Randy Orton (2008, partial sleeve, Alanna)

     282        Photograph of Randy Orton (2008, left partial sleeve)

     283        Photograph of Randy Orton (2008, partial sleeve, dove)

     284        Photograph of Randy Orton (2008, partial sleeve, dove)

     285        Photograph of Randy Orton (2008, left partial sleeve, dove, back view)

     286        Photograph of Randy Orton (2008, sleeves, front view)

     287        Photograph of Randy Orton (2008, right sleeve, side view)

     288        Photograph of Randy Orton (2008, left sleeve, side view)

     289        Photograph of Randy Orton (2008, sleeves, front view)

     290        Photograph of Randy Orton (2009, left sleeve, front view)

     291        Photograph of Randy Orton (2009, right sleeve, front view)

     292        Photograph of Randy Orton (2009, sleeves, back view)

     293        Photograph of Randy Orton (2010, sleeves, front view)



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                    EXHIBIT B – LIST OF DEFENDANTS’ EXHIBITS


  Defendants’
                                                   Description
  Exhibit No.
     294        Photograph of Randy Orton (2010, left sleeve, side view)

     295        Photograph of Randy Orton (2010, sleeves, arms crossed, side view)

     296        Photograph of Randy Orton (2011, sleeves, front view)

     297        Photograph of Randy Orton (2011, sleeves, back view)

     298        Photograph of Randy Orton (2011, sleeves, arms crossed, front view)

     299        Photograph of Randy Orton (2012, left sleeve, side view)

     300        Photograph of Randy Orton (2012, sleeves, back view)

     301        Photograph of Randy Orton (2012, right sleeve, side view)

     302        Photograph of Randy Orton (2013, right sleeve, side view)

     303        Photograph of Randy Orton (2013, sleeves, back view)

     304        Photograph of Randy Orton (2013, left sleeve, side view)

     305        Photograph of Randy Orton (2014, right sleeve, side view)

     306        Photograph of Randy Orton (2014, sleeves, back view)

     307        Photograph of Randy Orton (2014, left sleeve, side view)

     308        Photograph of Randy Orton (2014, sleeves, front view)

     309        Photograph of Randy Orton (2014, sleeves, front view)

     310        Photograph of Randy Orton (2014, sleeves, back view)

     311        Photograph of Randy Orton (2014, sleeves, arms crossed, zoomed-in front
                view)

     312        Photograph of Randy Orton (2015, sleeves, back view)

     313        Photograph of Randy Orton (2015, sleeves, wingspan, 3/4 view)

     314        Photograph of Randy Orton (2015, sleeves, front view)

     315        Photograph of Randy Orton (2016, sleeves, back view)




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                    EXHIBIT B – LIST OF DEFENDANTS’ EXHIBITS


  Defendants’
                                                   Description
  Exhibit No.
     316        Photograph of Randy Orton (2016, sleeves, front view, wearing sleeveless
                hoodie)

     317        Photograph of Randy Orton (2016, left sleeve, 3/4 view, wearing sleeveless
                hoodie)

     318        Photograph of Randy Orton (2016, right sleeve, 3/4 view, wearing sleeveless
                hoodie)

     319        Photograph of Randy Orton (2016, sleeves, front view, wearing sleeveless
                hoodie)

     320        Photograph of Randy Orton (2017, sleeves, front view)

     321        Photograph of Randy Orton (2017, sleeves, 3/4 view)

     322        Photograph of Randy Orton (2017, sleeves, 3/4 view)

     323        Photograph of Randy Orton (2017, sleeves, back view)

     324        Photograph of Randy Orton (2017, sleeves, back view)

     325        Photograph of Randy Orton (2018, sleeves, front view)

     326        Photograph of Randy Orton (2018, right sleeve, side view)

     327        Photograph of Randy Orton (2018, sleeves, back view)

     328        Photograph of Randy Orton (2018, left sleeve, side view)

     329        Photograph of Randy Orton (2018, sleeves, 3/4 view)

     330        Demonstratives for Use with Alfredo Brody

     331        Video of WWE 2K16, produced as TAKE-TWO_0000178




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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF ILLINOIS
                           EAST ST. LOUIS DIVISION

CATHERINE ALEXANDER,                   )
                                       )
            Plaintiff,                 )
                                       )
     -vs-                              )
                                       )
TAKE-TWO INTERACTIVE SOFTWARE, INC., )
2K GAMES, INC.; 2K SPORTS, INC.; WORLD )          Case No. 3:18-cv-966- SMY
WRESTLING ENTERTAINMENT, INC.;         )
VISUAL CONCEPTS ENTERTAINMENT;         )
YUKE’S CO., LTD.; AND YUKE’S LA, INC., )
                                       )
                                       )
            Defendants.                )

                             CERTIFICATE OF SERVICE

         I hereby certify that on August 26, 2022, I caused the foregoing DEFENDANTS’
 SECOND AMENDED RULE 26(a)(3) PRETRIAL DISCLOSURES to be electronically served
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                                            and Visual Concepts Entertainment




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